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                     Supreme Court of the United States                           JAN 2   0 2D12


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                        5Ag                                       S
                     RICK PERRY, GOVERNOR OF TEXAS, ET AL.,

                                                                        Appellants
                                              V.




                               SHANNON PEREZ, ET AL.;

                     RICK PERRY, GOVERNOR OF TEXAS, ET AL.,

                                                                        Appellants
                                               V.




                                 WENDY DAVIS, ET AL.;

                                             and


                     RICK PERRY, GOVERNOR OF TEXAS, ET AL.,

                                                                        Appellants
                                              V.




                                SHANNON PEREZ, ET AL.


              APPEAL FROM the United States District Court for the Western

District of Texas.

               THESE CAUSE came on to be heard on the transcripts of the records

and were argued by counsel.

               ON CONSIDERATION WHEREOF, it is ordered and adjudged by

this Court that the orders implementing the interim maps are vacated with costs,

and the cases are remanded to the United States District Court for the Western

District of Texas for further proceedings consistent with the opinion of this Court.
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              IT IS FURTHER ORDERED that the appellants Rick Perry,

Governor of Texas, et al. recover from Shannon Perez, et al. and Wendy Davis,

et al. Eighteen Thousand Eight Hundred Eighty-four Dollars and Forty-one

Cents ($18,884.41) for costs herein expended.


                                     January 20, 2012


Printing of record:         $18,884.41
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        (Slip Opinion)            Cite as: 565 U. S.            (2012)

                                             Per Curiam
               NOTICE: This opinion is subject to formal revision before publication in the
               preliminary print of the United States Reports. Readers are requested to
               notify the Reporter of Decisions, Supreme Court of the United States, Wash-
               ington, D. C. 20543, of any typographical or other formal errors, in order
               that corrections may be made before the preliminary print goes to press.

        SUPREME COURT OF THE UNITED STATES
                                Nos. 11-713, 11-714 and 11-715


             RICK PERRY, GOVERNOR OF TEXAS, ET AL.,
                          APPELLANTS
        11-713                 v.
                     SHANNON PEREZ ET AL

             RICK PERRY, GOVERNOR OF TEXAS, ET AL.,
                          APPELLANTS
        11-714                 U.
                      WENDY DAVIS ET AL.

             RICK PERRY, GOVERNOR OF TEXAS, ET AL.,
                          APPELLANTS
        11-715                 v.
                     SHANNON PEREZ ET AL.
        APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF TEXAS
                                         [January 20, 2012]
          PER CURIAM.
           The 2010 census showed an enormous increase in Texas'
        population, with over four million new residents. That
        growth required the State to redraw its electoral districts
        for the United States Congress, the State Senate, and the
        State House of Representatives, in order to comply with
        the Constitution's one-person, one-vote rule. See Georgia
        v. Ashcroft, 539 U. S. 461, 488, n. 2 (2003). The State also
        had to create new districts for the four additional congres-
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                                         Per Curiam
        sional seats it received.
           Texas is a "covered jurisdiction" under Section 5 of the
        Voting Rights Act of 1965. See 79 Stat. 439, 42 U. S. C.
        §1973c(a); 28 CFR pt. 51, App. (2011). Section 5 suspends
        all changes to a covered jurisdiction's election procedures,
        including district lines, until those changes are submitted
        to and approved by a three-judge United States District
        Court for the District of Columbia, or the Attorney Gen-
        eral. See Northwest Austin Municipal Util. Dist. No.
        One v. Holder, 557 U. S. 193, 198 (2009). This process,
        known as preclearance, requires the covered jurisdiction
        to demonstrate that its proposed change "neither has the
        purpose nor will have the effect of denying or abridging
        the right to vote on account of race or color." §1973c(a).
        This Court has been emphatic that a new electoral map
        cannot be used to conduct an election until it has been
        precleared. See, e.g., Clark v. Roemer, 500 U. 5. 646, 652
        (1991).
           The day after completing its new electoral plans, Texas
        submitted them to the United States District Court for the
        District of Columbia for preclearance. The preclearance
        process remains ongoing. Texas was unsuccessful in its
        bid for summary judgment, and a trial is scheduled in the
        coming weeks. Meanwhile, various plaintiffsappellees
        herebrought suit in Texas, claiming that the State's
        newly enacted plans violate the United States Constitu-
        tion and §2 of the Voting Rights Act.' Appellees alleged,
        inter alia, that Texas' enacted plans discriminate against
        Latinos and African-Americans and dilute their voting
        strength, notwithstanding the fact that Latinos and
        African-Americans accounted for three-quarters of Texas'

          'Section 2 prohibits "any State or political subdivision" from impos-
        ing any electoral practice "which results in a denial or abridgement of
        the right of any citizen of the United States to vote on account of race or
        color." 42 U. S. C. § 1973(a).
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        population growth since 2000. A three-judge panel of the
        United States District Court for the Western District of
        Texas was convened. See 28 U. S. C. §2284. That court
        heard argument and held a trial with respect to the plain-
        tiffs' claims, but withheld judgment pending resolution
        of the preclearance process in the D. C. court. Cf. Branch
        v. Smith, 538 U. S. 254, 283-285 (2003) (KENNEDY, J.,
        concurring).
           As Texas' 2012 primaries approached, it became increas-
        ingly likely that the State's newly enacted plans would not
        receive preclearance in time for the 2012 elections. And
        the State's old district lines could not be used, because
        population growth had rendered them inconsistent with
        the Constitution's one-person, one-vote requirement. It
        thus fell to the District Court in Texas to devise interim
        plans for the State's 2012 primaries and elections. See
        Connor v. Finch, 431 U. S. 407, 414-415 (1977). After
        receiving proposals from the parties and holding extensive
        hearings, that court issued its interim plans. The court
        unanimously agreed on an interim State Senate plan, but
        Judge Smith dissented with respect to the congressional
        and State House plans. Texas asked this Court to stay the
        interim plans pending an appeal, arguing that they were
        unnecessarily inconsistent with the State's enacted plans.
        This Court granted the stay and noted probable jurisdic-
        tion. 565 U. S.      (2011).
           Redistricting is "primarily the duty and responsibility
        of the State." Chapman v. Meier, 420 U. S. 1, 27 (1975).
        The failure of a State's newly enacted plan to gain pre-
        clearance prior to an upcoming election does not, by
        itself, require a court to take up the state legislature's task.
        That is because, in most circumstances, the State's last
        enacted plan simply remains in effect until the new plan
        receives preclearance. But if an intervening eventmost
        commonly, as here, a censusrenders the current plan
        unusable, a court must undertake the "unwelcome obliga-
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                                  Per Curiam

        tion" of creating an interim plan. Connor, supra, at 415.
        Even then, the plan already in effect may give sufficient
        structure to the court's endeavor. Where shifts in a
        State's population have been relatively small, a court may
        need to make only minor or obvious adjustments to the
        State's existing districts in order to devise an interim plan.
           But here the scale of Texas' population growth appears
        to require sweeping changes to the State's current dis-
        tricts. In areas where population shifts are so large that
        no semblance of the existing plan's district lines can be
        used, that plan offers little guidance to a court drawing an
        interim map. The problem is perhaps most obvious in
        adding new congressional districts: The old plan gives no
        suggestion as to where those new districts should be
        placed. In addition, experience has shown the difficulty of
        defining neutral legal principles in this area, for redistrict-
        ing ordinarily involves criteria and standards that have
        been weighed and evaluated by the elected branches in the
        exercise of their political judgment. See, e.g., Miller v.
        Johnson, 515 U. 5. 900, 915-916 (1995); White v. Weiser,
        412 U. 5. 783, 795-796 (1973). Thus, if the old state dis-
        tricts were the only source to which a district court could
        look, it would be forced to make the sort of policy judg-
        ments for which courts are, at best, ill suited.
           To avoid being compelled to make such otherwise stand-
        ardless decisions, a district court should take guidance
        from the State's recently enacted plan in drafting an
        interim plan. That plan reflects the State's policy judg-
        ments on where to place new districts and how to shift
        existing ones in response to massive population growth.
        This Court has observed before that "faced with the neces-
        sity of drawing district lines by judicial order, a court, as a
        general rule, should be guided by the legislative policies
        underlying" a state planeven one that was itself unen-
        forceable"to the extent those policies do not lead to
        violations of the Constitution or the Voting Rights Act."
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       Abrams v. Johnson, 521 U. S. 74, 79 (1997) (holding that
       the District Court properly declined to defer to a pre-
       cleared plan that used race as a predominant factor). For
       example, in White, supra, an equal population challenge,
       this Court reversed a District Court's choice of interim
       plan, and required the District Court to choose a plan
       more closely resembling an enacted state plan, even
       though the state plan itself had been held to violate the
       one-person, one-vote principle. Similarly, in Upham v.
       Seamon, although the state plan as a whole had been
       denied §5 preclearance, this Court directed a District
        Court to "defer to the legislative judgments the [state]
       plans reflect," insofar as they involved districts found to
       meet the preclearance standard. 456 U. S. 37, 40-41
       (1982) (per curiam). See also Whitcomb v. Chavis, 403
       U. 5. 124, 160-161 (1971) (equal protection challenge).
          Section 5 prevents a state plan from being implemented
       if it has not been precleared. But that does not mean that
       the plan is of no account or that the policy judgments it
       reflects can be disregarded by a district court drawing an
       interim plan. On the contrary, the state plan serves as a
       starting point for the district court. It provides important
       guidance that helps ensure that the district court appro-
       priately confines itself to drawing interim maps that
       comply with the Constitution and the Voting Rights Act,
       without displacing legitimate state policy judgments with
       the court's own preferences.
          A district court making such use of a State's plan must,
       of course, take care not to incorporate into the interim
       plan any legal defects in the state plan. See Abrams,
       supra, at 85-86; White, supra, at 797. Where a State's
       plan faces challenges under the Constitution or §2 of the
       Voting Rights Act, a district court should still be guided by
       that plan, except to the extent those legal challenges are
       shown to have a likelihood of success on the merits. Plain-
       tiffs seeking a preliminary injunction of a statute must
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                                 Per Curiam

        normally demonstrate that they are likely to succeed on
        the merits of their challenge to that law. See Winter v.
        Natural Resources Defense Council, Inc., 555 U. S. 7, 20
        (2008). There is no reason that plaintiffs seeking to defeat
        the policies behind a State's redistricting legislation
        should not also have to meet that standard. And because
        the local district courthere, the District Court for the
        Western District of Texaswill ultimately decide the
        merits of claims under §2 and the Constitution, it is well
        equipped to apply that familiar standard.
           The calculus with respect to §5 challenges is somewhat
        different. Where a State has sought preclearance in the
        District Court for the District of Columbia, §5 allows only
        that court to determine whether the state plan complies
        with §5. Consistent with that design, we have made clear
        that other district courts may not address the merits of §5
        challenges. See, e.g., Perkins v. Matthews, 400 U. S. 379,
        385 (1971). The local district court drafting an interim
        plan must therefore be careful not to prejudge the merits
        of the preclearance proceedings. The court should pre-
        sume neither that a State's effort to preclear its plan will
        succeed nor that it will fail.
           The need to avoid prejudging the merits of preclearance
        is satisfied by taking guidance from a State's policy judg-
        ments unless they reflect aspects of the state plan that
        stand a reasonable probability of failing to gain §5 pre-
        clearance. And by "reasonable probability" this Court
        means in this context that the §5 challenge is not insub-
        stantial. That standard ensures that a district court is not
        deprived of important guidance provided by a state plan
        due to §5 challenges that have no reasonable probability of
        success but still respects the jurisdiction and prerogative
        of those responsible for the preclearance determination.
        And the reasonable probability standard adequately bal-
        ances the unique preclearance scheme with the State's
        sovereignty and a district court's need for policy guidance
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        in constructing an interim map. This Court recently noted
        the "serious constitutional questions" raised by §5's intru-
        sion on state sovereignty. Northwest Austin, 557 U. S., at
        204. Those concerns would only be exacerbated if §5
        required a district court to wholly ignore the State's poli-
        cies in drawing maps that will govern a State's elections,
        without any reason to believe those state policies are
        unlawful.
          Appellees, however, contend that §5 demands exactly
        that. In their view, this Court's precedents require district
        courts to ignore any state plan that has not received §5
        preclearance. But the cases upon which appellees rely
        hold only that a district court may not adopt an unpre-
        cleared plan as its own. See Lopez v. Monterey County,
        519 U. 5. 9 (1996); McDaniel v. Sanchez, 452 U. 5. 130
        (1981). They say nothing about whether a district court
        may take guidance from the lawful policies incorporated in
        such a plan for aid in drawing an interim map. Indeed, in
        Upham this Court ordered a District Court to defer to the
        unobjectionable aspects of a State's plan even though that
        plan had already been denied preclearance.
          In this case, the District Court stated that it had
        "giv[en] effect to as much of the policy judgments in the
        Legislature's enacted map as possible." 1 App. 182. At
        the same time, however, the court said that it was re-
        quired to draw an "independent map" following "neutral
        principles that advance the interest of the collective public
        good." Id., at 169-170. In the court's view, it "was not
        required to give any deference to the Legislature's enacted
        plan," and it instead applied principles that it determined
        "place the interests of the citizens of Texas first." Id., at
        171. To the extent the District Court exceeded its mission
        to draw interim maps that do not violate the Constitution
        or the Voting Rights Act, and substituted its own, concept
        of "the collective public good" for the Texas Legislature's
        determination of which policies serve "the interests of the
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                                     Per Curiam

        citizens of Texas," the court erred.
           In proclaiming its ability to draw an interim map "with-
        out regard to political considerations," the District Court
        relied heavily on Balderas v. Texas, No. 6:01cv158, 2001
        U. S. Dist. LEXIS 25740 (ED Tex., Nov. 14, 2001)
        (per curiam), summarily aff'd, 536 U. S. 919 (2002).        1
        App. 182. But in Balderas there was no recently enacted
        state plan to which the District Court could turn. Without
        the benefit of legislative guidance in making distinctly
        legislative policy judgments, the Balderas court was per-
        haps compelled to design an interim map based on its own
        notion of the public good. Because the District Court here
        had the benefit of a recently enacted plan to assist it, the
        court had neither the need nor the license to cast aside
        that vital aid.
           Some specific aspects of the District Court's plans seem
        to pay adequate attention to the State's policies, others do
        not, and the propriety of still others is unclear. For exam-
        ple, in drawing State House districts in North and East
        Texas, the District Court closely followed the State's poli-
        cies. See 1 App. 173; 5 id., at 25-26. Although Texas'
        entire State House plan is challenged in the §5 proceed-
        ings, there is apparently no serious allegation that the
        district lines in North and East Texas have a discrimina-
        tory intent or effect. 1 id., at 187, n. 4. The District Court
        was thus correct to take guidance from the State's plan in
        drawing the interim map for those regions. But the court
        then altered those districts to achieve de minimis popula-
        tion variationseven though there was no claim that the
        population variations in those districts were unlawful.
        Id., at 171, and n. 8. In the absence of any legal flaw in
        this respect in the State's plan, the District Court had no
        basis to modify that plan.2

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                Court has stated that court-drawn maps are held to a higher
        standard of acceptable population variation than legislatively enacted
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                                      Per Curiam
           The District Court also erred in refusing to split voting
        precincts (called "voter tabulation districts" in Texas) in
        drawing the interim plans. Id., at 90, 102-103. That
        choice alone prevented the District Court from following
        the lead of Texas' enacted planwhich freely splits pre-
        cinctsin many areas where there were no legal chal-
        lenges to the plan's details. See id., at 102-103, 116, n. 24.
        The District Court was apparently motivated by a well-
        intentioned desire to save Texas the time and expense of
        reconfiguring precincts, and to ensure that the court's
        interim plan could be implemented in time for the upcom-
        ing election. Id., at 90, 102-103, 109. But the State's plan
        accepted the costs of splitting precincts in order to accom-
        plish other goals, and Texas law expressly allows recasting
        precincts when redistricting. See Tex. Elec. Code Ann.
        §42.032 (West 2010). If a State has chosen to accept the
        burden of changing its precincts, and its decision to do so
        is otherwise lawful, there is no warrant for a district court
        to ignore the State's decision. Of course, in this case it
        may well be that Texas will reexamine this issue in light
        of the exigencies caused by the impending election.
           The District Court also appears to have unnecessarily
        ignored the State's plans in drawing certain individual
        districts. For example, the District Court drew an interim
        District 77 that resembles neither the State's newly enact-
        ed plan, nor the previous plan in effect prior to the 2010
        census. The court said that it did so in response to alleged
        constitutional violations. 1 App. 174-175. But the court
        did not say that those allegations were plausible, much
        less likely to succeed. Nor did the District Court rely on a
        finding that the relevant aspects of the state plan stood a

        maps. See, e.g., Abrczms v. Johnson, 521 U. S. 74, 98 (1997). But this
        Court has also explained that those "stricter standard{s]" are not
        triggered where a district court incorporates unchallenged portions of a
        State's map into an interim map. Upham v. Seamon, 456 U. S. 37, 42-
        43 (1982) (per curiam).
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        reasonable probability of failing to gain §5 preclearance,
        see supra, at 6. Without such a determination, the Dis-
        trict Court had no basis for drawing a district that does
        not resemble any legislatively enacted plan.
           The court's approach in drawing other districts was
        unclear. The interim plan's Congressional District 33, for
        example, disregards aspects of the State's plan that ap-
        pear to be subject to strong challenges in the §5 proceed-
        ing. See 3 id., at 600-601; 5 id., at 12-14. That much
        seems appropriate, but there are grounds for concern with
        the path the District Court followed from there. The
        court's order suggests that it may have intentionally
        drawn District 33 as a "minority coalition opportunity
        district" in which the court expected two different minority
        groups to band together to form an electoral majority.
         1 id., at 147. The order is somewhat ambiguous on this
        pointsome portions suggest that the court deliberately
        designed such a district, other parts suggest that it drew
        the district solely as a response to population growth in
        the area. Compare id., at 146-147 ("Because much of the
        growth that occurred in the Dallas-Fort Worth metroplex
        was attributable to minorities, the new district 33 was
        drawn as a minority coalition opportunity district"), with
        id., at 144 ("The Court has nowhere expressly sought to
        increase the performance of any opportunity district above
        benchmark"). If the District Court did set out to create a
        minority coalition district, rather than drawing a district
        that simply reflected population growth, it had no basis for
        doing so. Cf. Bartlett v. Strickland, 556 U. 5. 1, 13-15
        (2009) (plurality opinion).
           Because it is unclear whether the District Court for the
        Western District of Texas followed the appropriate stand-
        ards in drawing interim maps for the 2012 Texas elec-
        tions, the orders implementing those maps are vacated,
        and the cases are remanded for further proceedings con-
        sistent with this opinion.
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          The judgment shall issue forthwith.
                                                        It is so ordered.
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                      THOMAS,   J., concurring in judgment

        SUPREME COURT OF THE UNITED STATES
                       Nos. 11-713, 11-714 and 11-715


             RICK PERRY, GOVERNOR OF TEXAS, ET AL.,
                          APPELLANTS
        11-713                 v.
                     SHANNON PEREZ, ET AL

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        11-714                 v.
                      WENDY DAVIS, ET AL.

             RICK PERRY, GOVERNOR OF TEXAS, ET AL.,
                          APPELLANTS
        11-715                 v.
                     SHANNON PEREZ, ET AL
        APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF TEXAS
                                [January 20, 2012]

          JUSTICE THOMAS, concurring in  the judgment.
          The Court proceeds from the premise that court-drawn
        interim plans are necessary in part because Texas' newly
        enacted redistricting plans are unenforceable for lack of
        preclearance under §5 of the Voting Rights Act of 1965.
        Ante, at 1-3. In my view, Texas' failure to timely obtain
        §5 preclearance of its new plans is no obstacle to their
        implementation, because, as I have previously explained,
        §5 is unconstitutional. See Northwest Austin Municipal
        Util. Dist. No. One v. Holder, 557 U. 5. 193, 212 (2009)
        (THOMAS,  J., concurring in judgment in part and dissent-
        ing in part). Although Texas' new plans are being chal-
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                      THOMAS, J.,   concurring in judgment

        lenged on the grounds that they violate the Federal Con-
        stitution and §2 of the Voting Rights Act, they have not
        yet been found to violate any law. Accordingly, Texas'
        duly enacted redistricting plans should govern the upcom-
        ing elections. I would therefore vacate the interim orders
        and remand for the United States District Court for the
        Western District of Texas to consider appellees' constitu-
        tional and §2 challenges in the ordinary course.
